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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

PAUL JOSEPH VLASAK                                                                     PLAINTIFF

V.                                                 CIVIL ACTION NO. 3:24-CV-194-DPJ-ASH

MARLA HALL, RN, Director of                                                        DEFENDANTS
Nursing, et al.

                                             ORDER

       Mississippi inmate Paul Joseph Vlasak sued a number of Defendants regarding alleged

irregularities in his prosecution. One of those Defendants, Katie Moulds, moves to dismiss [11]

under Federal Rule of Civil Procedure 12(b)(6) (or alternatively for judgment on the pleadings

under Rule 12(c)) because, as an assistant district attorney in Vlasak’s case, she claims absolute

immunity from suit. United States Magistrate Judge Andrew S. Harris recommends granting her

motion. R&R [23]. He issued his Report and Recommendation on January 23, 2025, from

which each party had fourteen days to object. Fed. R. Civ. P. 72(b)(2); see R&R [23] at 7

(advising Vlasak of deadline). Vlasak has not objected, and his time to do so has passed.

       “When no timely objection is filed, the court need only satisfy itself that there is no clear

error on the face of the record in order to accept the recommendation.” Fed. R. Civ. P. 72(b)

advisory committee’s note (1983), quoted in Douglass v. United Servs. Auto. Ass’n, 79 F.3d

1415, 1420 (5th Cir. 1996) (en banc), superseded on other grounds by 28 U.S.C. § 636(b)(1) as

noted in Alexander v. Verizon Wireless Servs., L.L.C., 875 F.3d 243, 248 (5th Cir. 2017).

       Absolute immunity for state prosecutors acting within the proper scope of their duties is a

well-established doctrine. See, e.g., Singleton v. Cannizzaro, 956 F.3d 773, 779 (5th Cir. 2020).

Moulds meets her burden of showing her entitlement to it. Having reviewed the record and

found no clear error, the Court accepts Judge Harris’s well-reasoned recommendation.
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       IT IS, THEREFORE, ORDERED that the Court adopts the Report and Recommendation

[23] of United States Magistrate Judge Andrew S. Harris as its findings and holding in this

matter. Moulds’s motion to dismiss [11] is granted. Her alternative motion for judgment on the

pleadings under Rule 12(c) is denied as moot.

       SO ORDERED AND ADJUDGED this the 24th day of February, 2025.

                                             s/ Daniel P. Jordan III
                                             UNITED STATES DISTRICT JUDGE




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